       Case 3:22-cv-13793-MCR-GRJ Document 1 Filed 08/13/22 Page 1 of 6




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

  IN RE: 3M COMBAT ARMS                              Case No. 3:19-md-2885
  EARPLUG PRODUCTS
  LIABILITY LITIGATION
                                                     Judge M. Casey Rodgers
  This Document Relates to:                          Magistrate Judge Gary R. Jones

  Willie J. Wardy Jr.
  ________________________                           MASTER SHORT FORM
                                                     COMPLAINT AND
  PLAINTIFF(S),                                      JURY TRIAL DEMAND

  v.
                                                     Civil Action No.: ________________
  3M COMPANY,

  DEFENDANT.
   MASTER SHORT FORM COMPLAINT AND JURY TRIAL DEMAND


       Pursuant   to     Pretrial     Order        No.     17,    plaintiff(s)   incorporate(s)     by

reference   all   allegations         of    fact,         legal arguments,       and    requests    for

relief, in each case as contained in the Master Long                             Form         Complaint

and Jury    Trial Demand            filed     in     In     re:     3M Combat          Arms     Earplug

Products    Liability Litigation on September 20, 2019. Plaintiff(s), however,

only assert claims against 3M Company because, as set forth in Paragraph 21 of the

Master Long Form Complaint, 3M Company is liable for all the facts and claims for

relief alleged herein.      As      necessary       herein,       Plaintiff(s)   may     include: (a)

additional claims and allegations against Defendant, as set forth in Paragraphs

10 and 11 or an additional sheet attached hereto; and/or (b) additional claims and
      Case 3:22-cv-13793-MCR-GRJ Document 1 Filed 08/13/22 Page 2 of 6




allegations against other Defendant not listed in the Master Long Form Complaint,

as set forth in Paragraphs 12 and 13 or an additional sheet attached hereto.

      Plaintiff(s) further allege(s) as follows:

I.    DEFENDANT

      1.     Plaintiff(s) name(s) the following Defendant in this action:

             X
             ______          3M Company

             ______          N/A

             ______          N/A

             ______          N/A

             ______          N/A

             ______          N/A

II.   PLAINTIFF(S)

      2.     Name of Plaintiff:

             Willie J. Wardy Jr.


      3.     Name of spouse of Plaintiff (if applicable to loss of consortium
             claim):

             N/A


      4.     Name and capacity (i.e., executor, administrator, guardian, conservator,
             etc.) of other Plaintiff, if any:

             N/A



                                           2
       Case 3:22-cv-13793-MCR-GRJ Document 1 Filed 08/13/22 Page 3 of 6




       5.    State(s) of residence of Plaintiff(s):

             Delaware



III.   JURISDICTION

       6.    Basis for jurisdiction (diversity of citizenship or other):

             Diversity of Citizenship


       7.    Designated forum (United States District Court and Division) in which
             venue would be proper absent direct filing:

             District of Delaware



IV.    USE OF DUAL-ENDED COMBAT ARMS EARPLUG

       8.    Plaintiff used the Dual-Ended Combat Arms Earplug:

             ______
             x               Yes

             ______          No

V.     INJURIES

       9.    Plaintiff alleges the following injuries and/or side effects as a result of
             using the Dual-Ended Combat Arms Earplug:

             ______          Hearing loss

             ______          Sequelae to hearing loss

             ______
             X               Other [specify below]

            Tinnitus




                                            3
      Case 3:22-cv-13793-MCR-GRJ Document 1 Filed 08/13/22 Page 4 of 6




VI.   CAUSES OF ACTION

      10.   Plaintiff(s) adopt(s) in this Short Form Complaint the following claims
            against only 3M Company, as asserted in the Master Long Form
            Complaint and Jury Trial Demand, and the allegations with regard
            thereto as set forth in the Master Long Form Complaint and Jury Trial
            Demand:
            ______
            X             Count I – Design Defect – Negligence

            ______
            X           Count II – Design Defect – Strict Liability

            X
            ______      Count III – Failure to Warn – Negligence

            ______
            X           Count IV – Failure to Warn – Strict Liability

            X
            ______      Count V – Breach of Express Warranty

            ______
            X           Count VI – Breach of Implied Warranty

            ______
            X           Count VII – Negligent Misrepresentation

            ______
            X           Count VIII – Fraudulent Misrepresentation

            X
            ______      Count IX – Fraudulent Concealment

            X
            ______      Count X – Fraud and Deceit

            X
            ______      Count XI – Gross Negligence

            ______
            X           Count XII – Negligence Per Se

            ______
            X           Count XIII – Consumer Fraud and/or Unfair Trade Practices

            ______      Count XIV – Loss of Consortium

            ______
            X           Count XV – Unjust Enrichment

            X
            ______      Count XVI – Punitive Damages




                                        4
Case 3:22-cv-13793-MCR-GRJ Document 1 Filed 08/13/22 Page 5 of 6




      ______       Count XVII – Other [specify below]




11. If additional claims against Defendant 3M Company are alleged in
Paragraph 10, the facts supporting these allegations must be pleaded.
Plaintiff(s) assert(s) the following factual allegations against 3M
Company:




12.   Plaintiff(s) contend(s) that additional parties may be liable or
      responsible for Plaintiff(s)’ damages alleged herein. Such additional
      parties, who will be hereafter referred to as Defendants, are as follows
      (must name each Defendant and its citizenship):




                                  5
      Case 3:22-cv-13793-MCR-GRJ Document 1 Filed 08/13/22 Page 6 of 6




      13.   Plaintiff(s) assert(s) the following additional claims and factual
            allegations against other Defendants named in Paragraph 12:




      WHEREFORE,           Plaintiff(s)   pray(s)       for      relief      and   judgment

against Defendant 3M Company and all such further relief that this Court deems

equitable and just as set forth in the Master Long Form Complaint and Jury

Demand and any additional relief to which Plaintiff(s) may be entitled.



       August 11, 2022
Dated: ______________
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                                          6
